         Case 3:22-cv-00073-SALM Document 1 Filed 01/14/22 Page 1 of 22




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


RICHARD FAGAN,                :
                              :
         Plaintiff,           :
                              :   Civil Action No.:
    v.                        :
                              :
FEDERAL EXPRESS CORPORATION, :
                                  January 14, 2022
                              :
         Defendant.           :
                              :
                      NOTICE OF REMOVAL

       TO THE CLERK OF THE COURT:

       PLEASE TAKE NOTICE that Defendant Federal Express Corporation (“FedEx”) files

this Notice of Removal in accordance with 28 U.S.C. §§ 1332 (diversity jurisdiction), 1441, and

1446 and removes this action from the State of Connecticut Superior Court, Judicial District of

Waterbury at Waterbury, to the United States District Court for the District of Connecticut. As

its reasons for removal, FedEx states:

       1.      By Summons and Complaint, Plaintiff Richard Fagan (“Plaintiff”) commenced a

civil action against FedEx in Connecticut Superior Court titled Richard Fagan v. Federal

Express Corporation, Docket No. UWY-CV22-6063693-S (the “Superior Court Action”). A

true and correct copy of the Summons and Complaint served by Plaintiff on FedEx is attached

hereto as Exhibit A and constitutes all processes, pleadings and orders served upon FedEx in this

action to the present date. 28 U.S.C. § 1446(a).

       2.      This Notice of Removal is being filed within 30 days of the date FedEx was

served with a copy of the Complaint in the Superior Court Action. 28 U.S.C. § 1446(b).
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       3.      This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332

because the parties are citizens of different states and, upon information and belief, the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

       4.      The Summons and Complaint state that Plaintiff is a citizen of the State of

Connecticut.

       5.      The Summons and Complaint further state that FedEx is a Delaware corporation

with a principal place of business located at 3610 Hacks Cross Road, Memphis, Tennessee 38125.

       6.      This Notice of Removal is being filed in the District of Connecticut, the District

Court of the United States for the district and division within which the Superior Court Action is

pending. 28 U.S.C. §§ 1441(a) and 1446(a).

       7.      Attached hereto as Exhibit B is a copy of the Notice to Superior Court of Filing of

Notice of Removal, the original of which is being filed with the Superior Court, Judicial District

of Waterbury at Waterbury. 28 U.S.C. § 1446(d).

       WHEREFORE, FedEx respectfully requests that this matter be removed and hereinafter

proceed in the United States District Court for the District of Connecticut.

                                                      Respectfully submitted,

                                                   /s/ Lindsay M. Rinehart
                                                   Maura A. Mastrony (ct27787)
                                                   Lindsay M. Rinehart (ct30921)
                                                   LITTLER MENDELSON, P.C.
                                                   One Century Tower
                                                   265 Church Street
                                                   Suite 300
                                                   New Haven, CT 06510
                                                   Telephone: 203.974.8700
                                                   Facsimile: 203.974.8799
                                                   mmastrony@littler.com
                                                   lrinehart@littler.com



                                                 2.
         Case 3:22-cv-00073-SALM Document 1 Filed 01/14/22 Page 3 of 22




                                 CERTIFICATE OF SERVICE


       I hereby certify that on this 14th day of January, 2022, a copy of the foregoing was sent

via email to all counsel and pro se parties of record as follows:

James V. Sabatini
Sabatini and Associates, LLC
1 Market Square
Newington, CT 06111
jsabatini@sabatinilaw.com

                                                      /s/ Lindsay M. Rinehart
                                                      Lindsay M. Rinehart




                                                 3.
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                    EXHIBIT A
                                                                                                                                            ___________________________

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SUMMONS           -   CIVIL                                                           For Information on                             STATE OF CONNECTICUT
JD-CV-1 Rev. 2-20                                                                     ADA accommodations,                                  SUPERIOR COURT
C.G.S. § 51-346, 51-347, 51-349, 51-350, 52-45a, 52-48, 52-259;                       contact a court clerk or                                           v4ww.judcf.gov
PB. § 3-1 through 3-21, 8-1, 10-13                                                    go to: wwwjud.ct.gov/ADA.
Instructions are on page 2.
LI    Select if amount, legal interest, or property in demand, not including interest and costs, is LESS than $2,500.
      Select if amount, legal interest, or property in demand, not including interest and costs, is $2,500 or MORE.

fl    Select if claiming other relief in addition to, or in place of, money or damages.

TO: Any proper officer
By authority of the State of Connecticut, you are hereby commanded to make due and legal service of this summons and attached complaint.
Address of court clerk (Number, street, town and zip code)                                             Telephone number of clerk                   Return Date (Must be a Tuesday)
300 Grand Street; Waterbury, CT 06702                                                                  (   203) 591     —    3300                  0112512022
      Judicial District                                  At (City/Town)                                                                 Case type code (See list on page 2)
                                      GA.
fl    Housing Session            LI   Number:            Waterbury                                                                        Major: M                Minor: 90
For the plaintiff(s) enter the appearance of:
Name and address of attorney, law firm or plaintiff it self-represented (Number, street, town and zip code)                                  Juris number (if attorney or law firm)
Sabatini and Associates, LLC; One Market Square; Newington, CT 06111                                                                         052654
Telephone number                             Signature ot plaintiff (if self-represented)
(860) 667—0839
The attorney or law firm appearing for the plaintiff or the plaintiff if                                      E-mail address for delivery of papers under Section 10-13 of the
                                                                                                  ,,          Connecticut Practice Book (if agreed)
self-represented, agrees to accept papers (service) electronically                     ,
in this case under Section 10-13 of the Connecticut Practice Book.                     U    Yes   j    No

      Parties             Name (Last, First, Middle Initial) and address of each party (Number; street; P.O. Box; town; state; zip; count,y, if not USA)
       First          Name:  FAGAN, Richard                                                                                                              P-01
      plaintiff       Address: 117 Clinton Street; 3rd Floor; Waterbury, CT 06710
  Additional          Name:
                                                                                                                                                                                      P-02
   plaintiff          Address:
       First          Name:      FEDERAL EXPRESS CORPORATION; 3610 Hacks Cross Road; Memphis, Tennessee 38125
                                                                                                                                                                                      0-01
  defendant           Address:    Agent:      CT Corporation System; 67 Burnside Avenue; East Hartford, CT 06108-3408
  Additional          Name:                                                                                                                                                           0-02
  defendant           Address:
  Additional          Name:
                                                                                                                                                                                      D-03
  defendant           Address:
  Additional          Name:
                                                                                                                                                                                      D-04
  defendant           Address:

Total number of plaintiffs: I                              Total number of defendants: I                                    LI Form JD-CV-2 attached for additional parties
Notice to each defendant
1. You are being sued. This is a summons in a lawsuit. The complaint attached states the claims the plaintiff is making against you.
2. To receive further notices, you or your attorney must file an Appearance (form JD-CL-12) with the clerk at the address above. Generally,
   it must be filed on or before the second day after the Return Date. The Return Date is not a hearing date. You do not have to come to
   court on the Return Date unless you receive a separate notice telling you to appear.
3. If you or your attorney do not file an Appearance on time, a default judgment may be entered against you. You can get an Appearance
   form at the court address above, or on-lineat1Is:/Ijud.ct.gov1webforms/.
4. If you believe that you have insurance jP1 m cover the claim being made against you in this lawsuit, you should immediately contact
   your insurance representative. Othejáctionou may take are described in the Connecticut Practice Book, which may be found in a
   superior court law library or on-li9e’at http4/www.jud.ct.gov/pb.htm.
5. If you have questions about t3e’summo and complai            ou sh Id talk to an attorney.
                                                                                ,


   The court staff is not allo/ed to givfadvice on gal matters.
                                                                                                                                                    ning
12-                                                                                                                                                               uire

If ffiis summons is Øed by a Cle                                                                                                                         For Court Use Only
                                                                                                                                                    Ic
a. The signing hp been done s tha e plaintiff(s) will not be denied access to the courts.
b. It is the resp6nsibility of the     if(s) to ensure that service is made in the manner provided by law.
c. The court staff is not permitted to give any legal advice in connection with any lawsuit.
d. The Clerk signing this summons at the request of the plaintiff(s) is not responsible in any way for any
     errors or omissions in the summons, any allegations contained in the complaint, or the service of the
      summons or complaint.
                                                                                                                      Date                   Docket Number
I certify I have read and        I Signed (Self-represented plaintiff)                                            I
understand the above:
                                                                                        Page 1 of 2
                                                                                                                  I
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RETURN DATE: January 25, 2022

RICHARD FAGAN                                     :       SUPERIOR COURT

VS.                                               :       WATERBURY JUDICIAL DISTRICT

FEDERAL EXPRESS CORPORATION :                             DECEMBER 22, 2021


                                             COMPLAINT

            1.    Plaintiff Richard Fagan was and is a Connecticut citizen residing in the City of

Waterbury.

            2.    Defendant Federal Express Corporation was and is a Delaware corporation with a

principal place of business located at 3610 Hacks Cross Road, Memphis, Tennessee 38125.

            3.    Defendant employs over 900 employees in the State of Connecticut.

            4.    Defendant operates a facility located at 35 Mountain View Road, Watertown,

Connecticut 06795.

            5.    Defendant hired plaintiff in November 2016.

            6.    Plaintiffs job position was Courier (Non-DOT). He worked out of the Watertown

facility.

            7.    Plaintiff was qualified for the job.

            8.    Plaintiff suffers from kidney stones and migraines.

            9.    The kidney stones and migraines are chronic.

            10.   The migraines adversely affect plaintiffs sleep.

            11.   Plaintiff uses prescription medical marijuana to treat his migraines and kidney

stones.



                                                      1
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        12.     Pursuant to C.G.S. §21a-408d, plaintiffs physician submitted the required forms

to the Department of Consumer Protection (“DCP”) to complete his registration as a “qualifying

patient” authorizing him to use medical marijuana for palliative care.

        13.    Plaintiff was certified as a qualifying patient and issued a registration certificate.

        14.    During the period of time the plaintiff has been taking prescription cannabis, he

has never been impaired or otherwise unable to perform the duties of his job.

        15.    In July 2020, defendant was informed that plaintiff was prescribed medical

marijuana for the kidney stones, migraines and to assist sleeping.


        16.    After learning of plaintiffs prescription of medical marijuana, defendant

prohibited plaintiff from working as a Courier (Non-DOT).

        17.    Plaintiffs use of medical marijuana does not take place during his working hours

and does not interfere with the performance of the essential functions of the job.


        18.    Nevertheless, because defendant was refusing to allow plaintiff to work his job;

the plaintiff requested an accommodation.


        19.    Specifically, plaintiff requested that he be allowed to take his prescription

medicine for his disability during non-working hours and during time periods that would not

interfere with his ability to perform the essential functions of his job safely.

       20.     Defendant denied the accommodation request on or about July 15, 2020.


       21.     Defendant continued to deny plaintiff work and pay.




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        22.    Defendant notified plaintiff that he could return to his position as a Courier/Non-

DO: “if you voluntarily agree to discontinue the use of marijuana on the condition that you

voluntarily submit to follow-up testing for a period of two years.”


        23.    Defendant set a ninety (90) day deadline for the plaintiff to find a “non-driving,

non-safety sensitive job position that he was qualified to do.


        24.    Defendant has failed to engage in the reasonable accommodation interactive

process in good faith.


        25.    Defendant has denied plaintiff work and wages because of his disability.


        26.    Plaintiff was to earn a promotion but the defendant then denied the promotion

because of disability discrimination.


        27.    On or about September 25, 2020, plaintiff filed a complaint against defendant

with the State of Connecticut Commission on Human Rights and Opportunities (CHRO).

        28.    The CHRO case filed on or about September 25, 2020 was assigned the CHRO

case number 2130167.

        29.    On or about September 24, 2020, defendant terminated plaintiffs employment

claiming that plaintiff violated the company’s Alcohol and Drug-Free Workplace policy.

        30.    Plaintiff appealed the defendant’s termination decision utilizing the company’s

internal complaint process.

        31.    On November 9, 2020, defendant notified plaintiff that his appeal was denied.

        32.    Defendant received notice of plaintiffs CHRO Complaint prior to November 9,

2020.




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        33.     Defendant terminated plaintiff because of disability discrimination (actual or

regarded as).

        34.     Defendant refused to accommodate plaintiffs use of prescription medication to

control his chronic kidney stones and migraines.

        35.     Defendant retaliated against plaintiff for filing a CHRO case and opposing

disability discrimination.

        36.     On or about July 8, 2021, plaintiff filed his second CHRO complaint against the

defendant.

        37.     Plaintiff received releases ofjurisdiction from the CHRO on or about September

30, 2021 and December 22, 2021. (Ex.1)

                                        FIRST COUNT
                 (Disability Discrimination in Violation of C.G.S. §46a-60(b)(1))

        1.      Plaintiff repeats the allegations in paragraphs 1 through 37 above as if fully

incorporated herein.

        38.     Defendant, by and through its agents and/or employees, violated the Connecticut

Fair Employment Practices Act C.G.S. §46a-60(b)(1) et seq. in one or more of the following

ways.

        (a)     In that defendant interfered with plaintiff’s privilege of employment on the basis

of plaintiff’s disability;

        (b)     In that defendant discriminated against the plaintiff in such a way that adversely

affected his status as an employee;

        (c)     In that defendant treated the plaintiff adversely different from similarly situated

employees;

        (d)     In that defendant terminated plaintiff’s employment on account of his disability;

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        (e)    In that defendant intentionally discriminated against the plaintiff on the basis of

               his disability (actual or regarded as);

        (f)    In that defendant discriminated against the plaintiff for requiring a reasonable

accommodation; and

        (g)    In that defendant failed to re-hire plaintiff because of his disability.

        39.    As a direct and proximate result of defendants’ unequal treatment and

discrimination, plaintiff has been deprived of his employment and equal employment

opportunities because of his disability.

        40.    As a direct and proximate result of defendants’ discrimination of the plaintiff,

plaintiff has been deprived of income, wages, and benefits.

        41.    As a further result of defendants’ termination and discrimination, plaintiff has

suffered emotional pain, suffering, embarrassment, shame, inconvenience, mental anguish, loss

of enjoyment of life, impairment of his personal and professional reputation, damage caused by

the Plaintiffs loss of insurances and savings and investment opportunities, and other pecuniary

and non-pecuniary losses.

        42.    Plaintiff has suffered and will continue to suffer injuries and losses as a result of

defendant’s wrongful and discriminatory acts.

                                   SECOND COUNT
                (Failure to Accommodate in Violation of C.G.S. §46a-60(b)(1))

        1.     Plaintiff repeats and re-alleges the allegations set forth above in Paragraphs 1

through 42 as though fully set forth herein.

        43.    Defendant, by and through its agents and/or employees, violated the Connecticut

Fair Employment Practices Act C.G.S. §46a-60(b)(1) et seq. in one or more of the following

ways:

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        (a)       In that defendants failed to provide the plaintiff with a reasonable

accommodation;

        (b)       In that defendants effectively denied the plaintiff a reasonable accommodation;

        (c)       In that defendants failed to initiate an interactive reasonable accommodation

process with the plaintiff;

        (d)       In that defendants failed to engage in an interactive reasonable accommodation

process with the plaintiff.

        44.       As a direct and proximate result of defendants’ failure to accommodate, and

termination, plaintiff has been deprived of work and equal employment opportunities because of

his disability.

        45.       As a further direct and proximate result of defendants’ failure to accommodate,

plaintiff has been deprived of income and wages, and has been deprived of access of certain

benefits to which he was entitled under defendants’ employee benefits plan, and interest.

        46.       As a further result of defendants’ failure to accommodate, plaintiff has suffered

emotional pain, suffering, embarrassment, shame, inconvenience, mental anguish, loss of

enjoyment of life, impairment of his personal and professional reputation, damage caused by the

Plaintiffs loss of insurances and savings and investment opportunities, and other pecuniary and

non-pecuniary losses.

        47.       Plaintiff has suffered and will continue to suffer injuries and losses as a result of

defendant’s wrongful and discriminatory acts.




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                                     THIRD COUNT
   (Retaliation In Violation of Connecticut Fair Employment Practices Act C.G.S. §46a-
                                         60(b)(4))

        1.      Plaintiff repeats and re-alleges the allegations set forth above as though fully set

forth herein.

        48.     Defendant, by and through its agents andior employees, violated the Connecticut

Fair Employment Practices Act C.G.S. §46a-609(b)(l) et seq. in one or more of the following

ways.

        a.      In that defendant retaliated against the plaintiff for requesting a reasonable

accommodation;

        b.      In that defendant retaliated against plaintiff for opposing employment

discrimination; and

        c.      In that defendant retaliated against plaintiff for filing a CHRO complaint.

        49.     As a result of defendants’ violation of Connecticut Fair Employment Practices Act

C.G.S. §46a-60(a)(4), plaintiff suffered harms and losses including: loss of employment, loss of

income and wages and benefits, and harm to his professional reputation.

        50.     As a further result of defendants’ retaliatory conduct, plaintiff has suffered

emotional pain, suffering, embarrassment, shame, inconvenience, mental anguish, loss of

enjoyment of life, impairment of his personal and professional reputation, damage caused by the

Plaintiffs loss of insurances and savings and investment opportunities, and other pecuniary and

non-pecuniary losses.

        51.     Plaintiff has suffered and will continue to suffer harms and losses as a result of

defendants’ wrongful and retaliatory acts.




                                                  7
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                                  FOURTH COUNT
  (Violation of C.G.S. §21a-408p the Palliative Use of Marijuana Statute, Treatment of
                                      —




 Student, Tenant or Employee Due to Status as Qualifying Patient or Primary Caregiver)

        1.      Plaintiff repeats the allegations in paragraphs I through 51 above as if fully

incorporated herein.

        52.     Defendant is an employer within the meaning of C.G.S. §21a-408p(a).

        53.     Plaintiff was prescribed medical marijuana by her physicians to treat a debilitating

medical condition.

        54.     Pursuant to C.G.S. §21a-408d, plaintiff’s physician submitted the required forms

to the Department of Consumer Protection (“DCP”) to complete his registration as a “qualifying

patient” authorizing her to use medical marijuana for palliative care.

        55.     Plaintiff was certified as a qualifying patient and issued a registration certificate.

        56.     During the period of time the plaintiff has been taking prescription cannabis, he

has never been impaired or otherwise unable to perform the duties of his job.

        57.     Plaintiff is a “qualifying patient” within the meaning of C.G.S. §21a-408a (10).

        58.     Defendant knew that plaintiff was taking prescription cannabis.

        59.     C.G.S. §21a-408p(b)(3) prohibits an employer from discriminating against an

individual by refusing to hire, discharging, penalizing or threatening an employee based on their

status as a qualified patient under the statue.

       60.      By discharging plaintiff because he is qualified patient, the defendant has violated

the law pursuant to C.G.S. §21a-408p(b)(3).

       61.     As a result of defendant’s conduct as described above, the plaintiff has suffered

and continues to suffer harms and losses including lost wages, benefits, and other rights and



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privileges of employment.

       62.    As a result of defendant’s conduct as described above, the plaintiff has suffered

serious emotional distress, anxiety, pain and suffering, humiliation and mental anguish.




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                                      DEMAND FOR RELIEF

        WHEREFORE, plaintiff prays for appropriate damages including: compensatory

damages; damages for back pay, front pay, lost personal days, emotional distress; loss

pension/retirement benefits; attorneys’ fees; costs; interest; consequential damages; prejudgment

interest; job reinstatement; punitive damages pursuant to the CFEPA ; for an injunction requiring

the removal of any and all adverse information contained in plaintiff’s personnel file; for a trial

by jury; and for all other just and proper relief.

        Hereof fail not but of this writ with your doings thereon make due service and

return according to law.

        Dated at Newington, Connecticut this 22’’ day of December, 2021.




                                               James V. aatini, Es re
                                                SABAjt$II AND A OCT            S, LLC
                                                1 Mket Square
                                               Nvington, CT 06
                                               Tel. No.: (860) 667-0839
                                               Fax No.: (860) 667-0867
                                               Email: j sabatini@sabatinilaw.com
                                              Juris No. 052654



Please file our appearanc57
on behalf o,lai$iff.



James V.
                                 /
                                                     10
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             STATEMENT OF AMOUNT IN DEMAND

            The amount in demand is greater than $15,000.00

                    exclusive of attorneys, and costs.




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                 EXHIBIT 1




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                        STATE OF CONNECTICUT
            COMMISSION ON HUMAN RIGHTS AND OPPORTUNITIES


Rich Fagan
COMPLAINANT                                                      CHRO No.2130167

vs.
                                                                 EEOC No. 16A-2021-00053


Federal Express Corporation
RESPONDENT

                                     REIJEASE OF JURISDICTION

The Commissk)n on Human Rights and Opportunities hereby releases its jurisdiction over the above-identified
complaint. The Complainant is atithorized to commence a civil action in accordance with CONN. GEN.
STAT. § 46a- 100 against the Respondent in the Superior Court for the judicial district in which the
disetiminatory practice is alleged to have occurred, in which the Respondent transacts business or in which
the Complainant resides. If this action involves a state agency or offici4 it may be brought in the Superior
Court forthejud icial district of Hartford.

A copy of any civil action brought pursuant to this release must be served on the Commission at ROJ(ct.gov or
at 450 Columbus Blvd., Suite 2, Hartford, CT 06103 at the same time all other parties are served. Electronic
service is prefened. THE COMMISSION MUST BE SERVED BECAUSE IT HAS A RIGHT TO
INTERVENE IN ANY ACTION BASED ON A RELEASE OF JURISDICTION PURSUANT
TO CONN. GEN. STAT. § 46a.-103.

The Complainant must bring an action in Superior Court within 90 days of receipt of this release and within
two years of the date of filing the complaint with the Commission unless circumstances tolling the
statute of limitations are present.




DATE: September 30, 2021                                    Tanya A. Hughes, Executive Director



Service:
Complainant’s counsel: i sabatini(sabatin ilaw. corn
Respondent’s counsel: mmastrony(1ittler.corn
       Case 3:22-cv-00073-SALM Document 1 Filed 01/14/22 Page 19 of 22




                         STATE OF CONNECTICUT
             COMMISSION ON HUMAN RIGHTS AND OPPORTUNITIES


Rich Fagan
COMPLAINANT                                                         CHRO No.         2230014

vs.                                                                 EEOCNo.           16A-2021-01153

FedEx Express Corporation
RESPONDENT

                                      RELEASE OF JURISDICTION
The Commission on Human Rights and Opportunities hereby releases its jurisdiction over the above-identified
complaint The Complainant is authorized to commence a civil action in accordance with CONN. GEN.
STAT. § 46a-100 against the Respondent in the Superior Court for the judicial district in which the
discriminatoiy practice is alleged to have occurred, in which the Respondent transacts business or in which
the Complainant resides. Ifthis action involves a state agency or official, it may be biought in the Superior Court
forthejudicial district of Hartford.

A copy of any civil action bmught pursuant to this release must be served on the Commission at ROJ(Zict.gov or
at 450 Columbus Blvd., Suite 2, Hartfoitl, CT 06103 at the same time all other parties are served. Electronic
service is preferred. THE COMMISSION MUST BE SERVED BECAUSE IF HAS A RIGHT TO
INTERVENE IN ANY ACTION BASED ON A RELEASE OF JURISDICTION PURSUANT
TO CONN. GEN. STAT. § 46a-103.

The Complainant must bring an action in Superior Court within 90 days ofreceipt ofthis release and within two
years of the date of filing the complaint with the Commission unless circumstances tolling the statute
of limitations are present.



DATE: 12/22/202 1                                               ii


                                                            1anya A. Hughes, bxecutive Director



Service:
Complainant: jsabatiniiisabatinilaw.com
Respondent: mmastrony2littler.com
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                   EXHIBIT B
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DOCKET NO: UWY-CV22-6063693-S                :          SUPERIOR COURT
                                             :
RICHARD FAGAN,                               :          J.D. OF WATERBURY
                                             :
               Plaintiff,                    :          AT WATERBURY
                                             :
       v.                                    :
                                             :
FEDERAL EXPRESS CORPORATION,                            JANUARY 14, 2022
                                             :
                                             :
               Defendant.                    :
                                             :
                                             :


                       NOTICE TO SUPERIOR COURT OF FILING
                             OF NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant

Federal Express Corporation (“FedEx”) today filed a Notice of Removal of this action in the

United States District Court for the District of Connecticut. A copy of said Notice is attached

hereto as Exhibit A.

       This Notice to Superior Court was filed and served pursuant to 28 U.S.C. § 1446(d).

                                                     Respectfully submitted,

                                                     /s/ Lindsay M. Rinehart
                                                     Maura A. Mastrony (ct27787)
                                                     Lindsay M. Rinehart (ct30921)
                                                     LITTLER MENDELSON, P.C.
                                                     One Century Tower
                                                     265 Church Street
                                                     Suite 300
                                                     New Haven, CT 06510
                                                     Telephone: 203.974.8700
                                                     Facsimile: 203.974.8799
                                                     mmastrony@littler.com
                                                     lrinehart@littler.com




                                                 1
        Case 3:22-cv-00073-SALM Document 1 Filed 01/14/22 Page 22 of 22




                                 CERTIFICATE OF SERVICE


       I hereby certify that on this 14th day of January, 2022, a copy of the foregoing was sent

via email to all counsel and pro se parties of record as follows:

James V. Sabatini
Sabatini and Associates, LLC
1 Market Square
Newington, CT 06111
jsabatini@sabatinilaw.com

                                                      /s/ Lindsay M. Rinehart
                                                      Lindsay M. Rinehart




                                                 2.
